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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                          BROWNSVILLE DIVISION


STATE OF TEXAS, et al.,

                  Plaintiffs,
v.

UNITED STATES OF AMERICA, et al.,
                                                 Civil Action No. 1:18-cv-00068
                  Defendants,

and

KARLA PEREZ, et al.;

STATE OF NEW JERSEY,

                  Defendants-Intervenors.



          MEMORANDUM OF LAW OF IMMIGRATION REFORM LAW INSTITUTE
                      AS AMICUS CURIAE IN SUPPORT OF
                PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT




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                                    INTRODUCTION

        This Court should grant Plaintiffs’ motion for summary judgment and vacate the

Final Rule implementing the Deferred Action for Childhood Arrivals (“DACA”) program

first established in the 2012 memorandum by then-Secretary of Department of Homeland

Security Janet Napolitano (the “DACA memorandum”). The Fifth Circuit has already

held that the DACA program is substantively unlawful under the APA. Because the Final

Rule merely codifies and is substantively identical to the DACA program, this Court

should apply the law-of-the-case doctrine and grant Plaintiffs’ motion for summary

judgment.

        In addition, the Court should consider ruling on whether the Final Rule violates

the Take Care Clause. The Fifth Circuit has provided guidance on the applicability of the

Take Care Clause since this Court previously declined to address the question, and the

deferred action contemplated by the Final Rule constitutes a clear instance of a

generalized and prospective dispensation from the law. Well over a million DACA

recipients are given permission to reside in the United States even though the law deems

their presence unlawful. This dispensation is impermissible under the Take Care Clause,

and the Final Rule should be struck down on that basis, as well.

                                      ARGUMENT

I.      The Immigration and Nationality Act does not confer upon DHS the
        authority to grant immigration benefits through the Final Rule.

        An agency is powerless to create rules that exceed the authority conferred by

Congress, much less rules that run contrary to Congress’s statutory scheme. Any such


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regulation would be ultra vires and a nullity. See Manhattan Gen. Equip. Co. v. Comm’r,

297 U.S. 129, 134 (1936) (holding that a “regulation [that] … operates to create a rule out

of harmony with the statute, is a mere nullity” because an agency’s “power … to

prescribe rules and regulations … is not the power to make law” but rather “the power to

adopt regulations to carry into effect the will of Congress as expressed by the statute”).

       In reviewing an ultra vires claim, courts examine statutory language to determine

whether Congress intended the agency to have the power that it exercised when it acted.

Univ. of the D.C. Faculty Ass’n v. D.C. Fin. Responsibility & Mgmt. Assistance Auth.,

163 F.3d 616, 620 (D.C. Cir. 1998). A reviewing court must reasonably be able to

conclude that the regulations issued were contemplated in Congress’s grant of authority.

Chrysler Corp. v. Brown, 441 U.S. 281, 308 (1979).

       As this Court has already held, the Immigration and Nationality Act (“INA”) does

not provide statutory authority for the DACA program. See Texas v. United States, 549 F.

Supp. 3d 572, 604-14 (S.D. Tex. 2021). The Court’s prior judgment (and the Fifth

Circuit’s affirmance of that judgment) with respect to the DACA program leaves no room

for upholding the Final Rule, which is materially indistinguishable from and merely

codifies the pre-existing DACA program. See, e.g., Deferred Action for Childhood

Arrivals, 87 Fed. Reg. 53152, 53163 (Aug. 30, 2022) (“This rule does not authorize new

entrants to the United States; indeed, it codifies, but does not expand, the threshold

criteria for consideration for deferred action under the DACA policy that have existed

since 2012.”); id. at 53177 (“The final rule codifies without material change the threshold

criteria that have been in place for a decade . . . .”); id. at 53183 (“DHS acknowledges

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that this rule codifies DACA, which reduces the agency’s flexibility with regard to

terminating or changing certain aspects of the policy, but reiterates the purpose of the rule

is to preserve and fortify DACA, a policy that has been in place for 10 years.”); id. at

53202 (“This rule again codifies an exercise of DHS’s authority to grant employment

authorization to DACA recipients and thereby serves to preserve and fortify DACA.”); id.

at 53208 (“DHS agrees that the rule properly codifies DHS’s decade-long policy that

DACA recipients are similarly situated to other individuals with deferred action who

have, since at least 2002, not accrued unlawful presence for purposes of INA sec.

212(a)(9), 8 U.S.C. 1182(a)(9) inadmissibility while action is deferred in their case.”); id.

at 53243 (“DHS notes that the proposed 8 CFR 236.23(c)(2) codifies and clarifies

longstanding DACA policy . . . .”); id. at 53297 (“DHS does not believe the rule triggers

NEPA obligations in the first instance because it simply codifies existing policy toward a

population already in the United States and thus does not alter the environmental status

quo.”) (emphases added throughout).

       Like the decade-long DACA program that preceded it, the Final Rule is a

programmatic refusal by DHS to enforce Congress’s clear statutory scheme. For

example, under the INA, any alien who entered the country illegally is deemed an

applicant for admission. 8 U.S.C. § 1225(a)(1). And 8 U.S.C. § 1225(b)(2)(A) mandates

that if an applicant for admission “is not clearly and beyond a doubt entitled to be

admitted, the alien shall be detained” for removal proceedings (emphasis added). See also

Jennings v. Rodriguez, 138 S. Ct. 830, 842 (2018) (“Read most naturally, §§ 1225(b)(1)

and (b)(2) thus mandate detention of applicants for admission until certain proceedings

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have concluded.”); Texas v. Biden (MPP), 20 F.4th 928, 978 (5th Cir. 2021) (describing

§ 1225(b)(2)(A) as “obviously a mandatory statutory command—not a commitment to

agency discretion”), rev’d on other grounds, 142 S. Ct. 2528 (2022). But, contrary to

such statutory directives, the Final Rule, like the DACA memorandum before it, is based

on the belief that DHS has the inherent prosecutorial discretion1 or sufficient delegated

authority2 to except certain illegal aliens from “an intricate statutory scheme for

determining which classes of aliens may receive lawful presence, discretionary relief

from removal, deferred action, and work authorization.” Texas v. United States (DACA),

50 F.4th 498, 525 (5th Cir. 2022) (internal footnotes omitted).

       To be sure, the two provisions of the INA relied upon by DHS provide broad,

general grants of authority to DHS: 8 U.S.C. § 1103(a)(3) (“[The Secretary] . . . shall

establish such regulations; prescribe such forms of bond, reports, entries, and other

papers; issue such instructions; and perform such other acts as he deems necessary for

carrying out his authority under the provisions of this chapter.”); and 6 U.S.C. § 202(5)

(“The Secretary . . . shall be responsible for . . . [e]stablishing national immigration

enforcement policies and priorities.”). The first of these, 8 U.S.C. § 1103(a)(3), clearly

fails to authorize DACA, which is not “necessary for carrying out” any part of the INA.


       1
          See 87 Fed. Reg. at 53180 (DHS asserting that “[d]eferred action under the
DACA policy is a form of prosecutorial discretion well within the Executive’s authority
to efficiently allocate limited enforcement resources”).
        2
          See id. at 53186 (DHS claiming that “the authority for the rule lies in a range of
statutory authorities, including DHS’s general rulemaking authority under section 103 of
the INA as well as DHS’s power to exercise enforcement discretion, which is inherent in
the delegation of authority over enforcement of the INA”) (citing, inter alia, 6 U.S.C. §
202(3), (5); 8 U.S.C. § 1103(a)(1), (3)).
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Only if the authority of DHS to “deem[]” that an action is “necessary” were unlimited

and unreviewable could this provision confer authority to implement DACA; but in that

case, this provision would grant DHS a limitless authority over how it carries out its

duties, making the innumerable other provisions of the INA that detail how it is to carry

out those duties meaningless. See, e.g., 8 U.S.C. §§ 1225(b)(2)(A) (providing that

inadmissible aliens “shall be” detained for removal proceedings), 1226(c) (requiring the

detention of certain criminal aliens pending removal), 1229a (providing procedural

requirements for removal proceedings).

       Section 202(5)’s grant of authority to “[e]stablish[] national immigration

enforcement policies and priorities” also fails to authorize DACA. This authorization to

set “priorities” does not authorize DHS to implement DACA, which goes far beyond

making removable aliens that meet its criteria low priorities for removal. Thus, this

provision could only authorize DACA based on its apparently open-ended authorization

to DHS to establish enforcement “policies.” But if the meaning of this language were as

open-ended as DHS suggests, it would violate the nondelegation doctrine, which requires

“an intelligible principle to which the person or body authorized to exercise the delegated

authority is directed to conform.” Mistretta v. United States, 488 U.S. 361, 372 (1989).

No such principle has been provided. Under the doctrine of constitutional avoidance,

then, this Court should avoid the constitutional nondelegation issue by reading the statute

not to delegate the sweeping authority DHS needs for this program. Arizona v. Inter

Tribal Council of Ariz., Inc., 570 U.S. 1, 17-18 (2013); United States v. CITGO

Petroleum Corp., 801 F.3d 477, 483 n.6 (5th Cir. 2015).

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       Furthermore, as the Fifth Circuit has already recognized, “DACA ‘undoubtedly

implicates question[s] of deep economic and political significance that [are] central to

this statutory scheme; had Congress wished to assign that decision to an agency, it surely

would have done so expressly.’” DACA, 50 F.4th at 526 (quoting Texas v. United States

(DAPA), 809 F.3d 134, 167 (5th Cir. 2015) (internal quotations omitted)). The broad

delegations of authority found at 6 U.S.C. § 202(5) and 8 U.S.C. § 1103(a) are

insufficient to demonstrate the “clear congressional authorization” necessary to support

the Final Rule. DACA, 50 F.4th at 526 (quoting West Virginia v. EPA, 142 S. Ct. 2587,

2614 (2022)). Instead, “these ‘broad grants of authority . . . cannot reasonably be

construed as assigning decisions of vast economic and political significance . . . to an

agency.’” Id. at 527 (quoting DAPA, 809 F.3d at 183 (internal quotations and citations

omitted)).

       This Court should apply the law-of-the-case doctrine3 because the Fifth Circuit has

ruled that the INA does not confer upon DHS the authority to implement the DACA

program, and the Final Rule, which is materially identical to the decade-long DACA

program, falls under that ruling. See DACA, 50 F.4th at 528 (“DACA ‘is foreclosed by

Congress’s careful plan; the program is manifestly contrary to the statute.’”) (quoting

DAPA, 809 F.3d at 186 (internal quotations omitted)). Further, none of the exceptions to


       3
          “The law of the case doctrine provides that an issue of law or fact decided on
appeal may not be reexamined either by the district court on remand or by the appellate
court on a subsequent appeal.” Gene & Gene, L.L.C. v. Biopay, L.L.C., 624 F.3d 698, 702
(5th Cir. 2010) (internal quotation omitted). The doctrine is “based upon sound policy
that when an issue is once litigated and decided, that should be the end of the matter.”
United States v. U.S. Smelting Refining & Mining Co., 339 U.S. 186, 198 (1950).
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the law-of-the-case doctrine applies. Exceptions to the law-of-the-case doctrine allow

reexamination of issues decided on appeal “only if (i) the evidence on a subsequent trial

was substantially different, (ii) controlling authority has since made a contrary decision

of the law applicable to such issues, or (iii) the decision was clearly erroneous and would

work a manifest injustice.” Gene & Gene, 624 F.3d at 702 (internal quotation omitted).

Inasmuch as the Final Rule is a mere codification of the pre-existing DACA program, no

material change in evidence or controlling law suggest a different outcome here. Indeed,

Defendants appear to have conceded that the law-of-the-case doctrine applies by

asserting that the outcome in this Court regarding the validity of Final Rule “is certain.”

Plaintiffs’ motion for summary judgment, ECF Doc. 625-1 at 12-13 (quoting Defendants’

supplemental brief before the Fifth Circuit). Accordingly, the Court should apply the law-

of-the-case doctrine and grant Plaintiffs’ motion for summary judgment.

II.    The Final Rule violates the Executive’s obligations under the Take Care
       Clause.

       Additionally, this Court should consider ruling on the deferred action aspect of the

Final Rule under the Take Care Clause. A mere ten days after the DACA memorandum

was published, the late Justice Scalia recognized that the DACA program amounted to a

“dispensation” from the law. Arizona v. United States, 567 U.S. 387, 435 (2012) (Scalia,

J., dissenting) (referring to applications to be enrolled in DACA as “biennial requests for

dispensation”). Further, in granting review in the DAPA case, the Supreme Court ordered

“the parties … to brief and argue ‘[w]hether [DAPA] violates the Take Care Clause of

the Constitution.’” United States v. Texas, 577 U.S. 1101 (2016).


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       This Court previously declined to reach the question of whether the DACA

program violates the Take Care Clause under the doctrine of constitutional avoidance as

well as “a dearth of precedent on the Take Care Clause.” Texas, 549 F. Supp. 3d at 622.

But, since then, the Fifth Circuit has provided guidance on the applicability of the Take

Care Clause. See MPP, 20 F.4th at 978-83 (discussing how the Take Care Clause

incorporates the common law prohibition against suspending and dispensing powers and

concluding that “the Constitution[] explicitly forb[ids] the executive from nullifying

whole statutes by refusing to enforce them on a generalized and prospective basis”)

(emphasis in original); see also Kendall v. United States ex rel. Stokes, 37 U.S. 524, 613

(1838) (rejecting suggestion that the Take Care Clause vested the President with the

power to dispense with laws and that recognizing such a power “would be clothing the

President with a power entirely to control the legislation of [C]ongress”). To be sure, this

Court need not resolve this constitutional issue to conclude that the Final Rule is

unlawful, but the Take Care violation is both ripe for adjudication and provides a clear

basis for an alternative holding.

       The Take Care Clause provides that the President “shall take care that the laws be

faithfully executed.” U.S. Const. art. II, § 3. The Fifth Circuit has explained how the Take

Care Clause is a limit on executive powers and precludes the executive branch from

suspending or dispensing with the law. See MPP, 20 F.4th at 978-82; id. at 979

(describing the power to dispense with a law as “the power to grant permission to an

individual or a corporation to disobey a statute” or alternatively as the power to make it

lawful for an individual to violate a statutory prohibition so long as that person has

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“dispensation”). By affording DACA recipients deferred action, the Final Rule gives

them permission to disobey a statute, and gives them a dispensation from the immigration

laws that deem them removable. As such, the Final Rule runs afoul of the Take Care

Clause as explicated by the Fifth Circuit, and should be struck down on that basis.

       Defendants cannot avoid this result by attempting to justify the DACA program

either as a legitimate attempt to prioritize the allocation of limited resources or as a

permissible exercise of prosecutorial discretion. Faced with limited resources, an agency

has the discretion to implement the mandate of Congress as best it can, by setting

priorities for action. See City of Los Angeles v. Adams, 556 F.2d 40, 50 (D.C. Cir. 1977)

(holding that when a statutory mandate is not fully funded, “the agency administering the

statute is required to effectuate the original statutory scheme as much as possible, within

the limits of the added constraint.”). With DACA, however, DHS does not “effectuate the

original statutory scheme as much as possible” within the limits set by underfunding.

DACA was not created because of lack of resources; the aliens protected by it were

already rarely removed. See ECF Doc. 487-8 at 4 (Memorandum from Jeh Charles

Johnson, Exercising Prosecutorial Discretion with Respect to Individuals Who Came to

the United States as Children and with Respect to Certain Individuals Who are Parents of

U.S. Citizens or Permanent Residents at 3 (Nov. 20, 2014) (explaining that DACA

applies to individuals who “are extremely unlikely to be deported given [the]

Department’s limited enforcement resources”) (available at: https://www.dhs.gov/sites/

default/files/publications/14_1120_memo_deferred_action_0.pdf) (last visited Feb. 14,

2023)). Furthermore, as Justice Scalia observed, “[t]he husbanding of scarce enforcement

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resources can hardly be the justification for [DACA], since the considerable

administrative cost of conducting as many as 1.4 million background checks, and ruling

on the biennial requests for dispensation that the nonenforcement program envisions, will

necessarily be deducted from immigration enforcement.” Arizona, 567 U.S. at 435

(Scalia, J., dissenting) (emphasis in original). Thus, rather than a mere marshalling and

focusing of scant resources, DACA simply reflects the current administration’s policy

judgment that these aliens should be free to live and work in the United States without

fear of deportation, or in other words, that these aliens should be granted a dispensation

from the law.

       Defendants’ attempt to justify the DACA program as a valid form of prosecutorial

discretion fairs no better. As the Fifth Circuit explained in MPP, the Executive may

exercise prosecutorial discretion “in particular instances and at particular moments in

time,” but may not nullify “whole statutes by refusing to enforce them on a generalized

and prospective basis.” 20 F.4th at 983 (emphasis in original). Here, the Final Rule

programmatically dispenses with the law on a generalized and prospective basis and

therefore cannot be shielded from judicial review as a valid exercise of prosecutorial

discretion. Indeed, as this Court has already determined, the Final Rule defines a class of

aliens numbering approximately 1.5 million—a population “too numerous to fit into the

individualized notion of deferred action that courts have found permissible in other

contexts.” Texas, 549 F. Supp. 3d at 620-21.




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       Simply put, the Final Rule constitutes a generalized and prospective dispensation

of the law applying to well over a million people, and as such clearly runs afoul of the

Take Care Clause. This Court accordingly should strike it down on that alternative basis.

                                     CONCLUSION

       For the foregoing reasons, the Court should grant Plaintiffs’ motion for summary

judgment.

                                          Respectfully submitted on February 20, 2023,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on February 20, 2023, a true and accurate copy of the foregoing

document was filed electronically (via CM/ECF) and served on all counsel of record.

                                             /s/ Matt Crapo
